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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: NATIONAL FOOTBALL : No. 2:12-md-02323-AB

LEAGUE PLAYERS’ CONCUSSION :
INJURY LITIGATION : MDL No. 2323

Hon. Anita B. Brody
Kevin Turner and Shawn Wooden,
on behalf of themselves and
others similarly situated, :
Plaintiffs, : Civ. Action No. 14-00029-AB

Vv.

National Football League and

NFL Properties, LLC,

successor-in-interest to

NFL Properties, Inc.,
Defendants.

THIS DOCUMENT RELATES TO:
ALL ACTIONS

ORDER!

On June 25, 2014, Plaintiffs Kevin Turner and Shawn Wooden, through their proposed
Co-Lead Class Counsel, Class Counsel, and Subclass Counsel, filed a motion for an order: (1)
granting preliminary approval of the proposed Class Action Settlement Agreement; (2)
conditionally certifying a Settlement Class and Subclasses; (3) appointing Co-Lead Class

Counsel, Class Counsel, and Subclass Counsel; (4) approving the dissemination of class notice;

' Capitalized terms used in this Order have the same meaning as those defined in the June 25, 2014 Class Action
Settlement Agreement. See Pl.’s Mot. Ex. B, June 25, 2014, ECF No. 6037.

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(5) scheduling a Fairness Hearing; and (6) staying matters as to the Released Parties and
enjoining proposed Settlement Class Members from pursuing Related Lawsuits [ECF No. 6073].
AND NOW, this 7th day of July, 2014, it is ORDERED as follows:
1. The proposed Class Action Settlement Agreement is preliminarily approved.
2. The Settlement Class and Subclasses are conditionally certified for settlement
purposes only.
a. The Settlement Class consists of:
i. All living NFL Football Players who, prior to the date of
the Preliminary Approval and Class Certification Order,”
retired, formally or informally, from playing professional
football with the NFL or any Member Club, including
American Football League, World League of American
Football, NFL Europe League and NFL Europa League
players, or were formerly on any roster, including
preseason, regular season, or postseason, of any such
Member Club or league and who no longer are under
contract to a Member Club and are not seeking active
employment as players with any Member Club, whether
signed to a roster or signed to any practice squad,

developmental squad, or taxi squad of a Member Club

(“Retired NFL Football Players”);

* “Preliminary Approval and Class Certification Order” is defined in the June 25, 2014 Class Action Settlement
Agreement as the Court’s order preliminarily approving the Class Action Settlement and conditionally certifying the
Settlement Class and Subclasses. See Pl.’s Mot. Ex. B, June 25, 2014, ECF No. 6037. For the avoidance of any
ambiguity, this Order is the “Preliminary Approval and Class Certification Order.”

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il. Authorized representatives, ordered by a court or other
official of competent jurisdiction under applicable state
law, of deceased or legally incapacitated or incompetent
Retired NFL Football Players (“Representative
Claimants”); and

ili. Spouses, parents, children who are dependents, or any other
persons who properly under applicable state law assert the
right to sue independently or derivatively by reason of their
relationship with a Retired NFL Football Player or
deceased Retired NFL Football Player (“Derivative
Claimants”).

b. The Settlement Subclasses consist of:

i. Subclass 1: Retired NFL Football Players who were not
diagnosed with a Qualifying Diagnosis’ prior to the date of
the Preliminary Approval and Class Certification Order and
their Representative Claimants and Derivative Claimants;
and

il. Subclass 2: Retired NFL Football Players who were
diagnosed with a Qualifying Diagnosis prior to the date of
the Preliminary Approval and Class Certification Order and

their Representative Claimants and Derivative Claimants,

* “Qualifying Diagnosis” is defined in Exhibit 1 of the June 25, 2014 Class Action Settlement Agreement as Level
1.5 Neurocognitive Impairment, Level 2 Neurocognitive Impairment, Alzheimer’s Disease, Parkinson’s Disease,
ALS, and/or Death with CTE. See Pl.’s Mot. Ex. B, June 25, 2014, ECF No. 6037.
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and the Representative Claimants of deceased Retired NFL
Football Players who were diagnosed with a Qualifying
Diagnosis prior to death or who died prior to the date of the
Preliminary Approval and Class Certification Order and

who received a post-mortem diagnosis of CTE.

c. The Subclass Representatives for each of the Settlement Subclasses are
preliminarily appointed as follows:
i Shawn Wooden is appointed as Subclass Representative for
Subclass 1.
ii. Kevin Turner is appointed as Subclass Representative for Subclass
2
3. Co-Lead Class Counsel, Class Counsel, Subclass Counsel, and the following

administrators are appointed as follows:

a.

Christopher A. Seeger, Sol Weiss, Arnold Levin, Dianne M. Nast, Steven
C. Marks, and Gene Locks are appointed as Class Counsel.

Christopher A. Seeger and Sol Weiss are appointed as Co-Lead Class
Counsel.

Arnold Levin is appointed as Subclass Counsel for Subclass 1, and Dianne
M. Nast is appointed as Subclass Counsel for Subclass 2.

Plaintiffs” Executive Committee and Plaintiffs’ Steering Committee are

appointed as Of Counsel.
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a: The Garretson Resolution Group, Inc. is preliminarily appointed to serve
as the Baseline Assessment Program (“BAP”) Administrator and Lien

Resolution Administrator.

f. BrownGreer PLC is preliminarily appointed to serve as the Claims
Administrator.
g. Citibank, N.A. is preliminarily appointed as the Trustee.
h. Kinsella Media, LLC is appointed to serve as the Settlement Class Notice
Agent.
4, The dissemination of class notice is approved as follows:
a. The protocol for dissemination of notice to Settlement Class and Subclass

Members, as set forth in the Settlement Class Notice Plan, is approved.

b. The templates* of the Long-Form Notice and the Summary Notice,
attached to this Order as Exhibits | and 2, respectively, are approved. The
parties must submit to the Court completed versions of the Long-Form
Notice and the Summary Notice before they are posted on the Settlement
Website.

¢. On or before July 11, 2014, the NFL Parties must transfer the Class
Notice Payment to Co-Lead Class Counsel.

d. On or before July 14, 2014, the Long-Form Notice must be posted on the
Settlement Website.

e@. On or before July 24, 2014, Co-Lead Class Counsel must cause the Long-

Form Notice to be sent via first-class mail, postage prepaid to: (i) all

* The Long-Form Notice and the Summary Notice are only templates because additional details must be inserted
before dissemination.
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known Retired NFL Football Players, their Representative Claimants and
Derivative Claimants and (ii) counsel for Retired NFL Football Players,
their Representative Claimants and Derivative Claimants, if known.
Where an attorney represents more than one Settlement Class Member, it
is sufficient to provide that attorney with a single copy of the notice.
Notice to a Settlement Class Member’s counsel of record constitutes
notice to the Settlement Class Member, even if the Settlement Class
Member does not receive independent notice.

f. On or before September 15, 2014, Co-Lead Class Counsel must cause

publication notice to be initiated in various media as follows:

ii Full-page ads featuring the Summary Notice in Time, Ebony,
People, Sports Illustrated, and senior living trade publications;

il. Thirty-second television commercials on a combination of

broadcast and cable networks, including the NFL Network;

iil. Thirty-second radio commercials on American Urban Radio
Networks;
iv. Internet banner ads on targeted websites (NFL.com, CNN.com,

Facebook.com, and Weather.com) and Internet advertising
networks; and
v. Keyword search ads on the Google and Bing search engines.
g. The Opt Out procedure set forth in Section 14.2 of the Settlement

Agreement is approved. Written requests to Opt Out must be postmarked
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on or before October 14, 2014. The attached Long-Form Notice explains

the Opt Out procedure.
h. The objection procedure set forth in Section 14.3 of the Settlement
Agreement is approved. Written objections must be postmarked on or

before October 14, 2014. The attached Long-Form Notice explains the

objection procedure.

i; On or before November 3, 2014, any Settlement Class Member (or any

attorney representing a Settlement Class Member) seeking to speak at the
Fairness Hearing must send to the Court written notice of his or her
intention to speak at the Fairness Hearing.

Ts On or before November 3, 2014, BrownGreer PLC must prepare and file

with the Court, and serve on Class Counsel and Counsel for the NFL
Parties, a list of all persons who have timely Opted Out of the Settlement
Class.

k. On or before November 12, 2014, Class Counsel and Counsel for the NFL

Parties must file any response to the objections or any papers in support of
final approval of the Settlement.
5. The request to schedule a Fairness Hearing is granted. A Fairness Hearing will

take place on Wednesday, November 19, 2014 at 10:00 a.m., at the United

States Courthouse, 601 Market Street, Philadelphia, Pennsylvania 19106 in
Courtroom 7B in order to consider comments on and objections to the proposed
Settlement Agreement and to consider whether: (a) to approve the Settlement

Agreement as fair, reasonable and adequate, pursuant to Rule 23 of the Federal
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Rules of Civil Procedure, (b) to certify the Settlement Class and Subclasses, and
(c) to enter the Final Order and Judgment, as provided in Article XX of the
Settlement Agreement. The Fairness Hearing is subject to postponement or
adjournment by the Court without further notice.

6. This action and all actions consolidated before the Court in this Multidistrict
Litigation are stayed. All proposed Settlement Class Members are enjoined from
filing, commencing, prosecuting, intervening in, participating in, continuing to
prosecute and/or maintaining, as plaintiffs, claimants, or class members, any other
lawsuit, including, without limitation, a Related Lawsuit, or administrative,
regulatory, arbitration, or other proceeding in any jurisdiction (whether state,
federal or otherwise), against Released Parties based on, relating to, or arising out
of the claims and causes of action, or the facts and circumstances at issue, in the
Class Action Complaint, Related Lawsuits and/or the Released Claims. However,
claims for workers’ compensation and claims alleging entitlement to NFL CBA
Medical and Disability Benefits are not stayed or enjoined. The stay and
injunction will remain in effect unless and until a proposed Settlement Class
Member’s Opt Out becomes effective on the date this Court grants Final
Approval, approval of the Settlement Agreement is denied, or the Settlement
Agreement is otherwise terminated. No such stay or injunction applies to the
Riddell Defendants.

wh If the Settlement Agreement is terminated or is not consummated for any reason,

the preliminary certification of the Settlement Class and Subclasses is void, and
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Plaintiffs and NFL Parties are deemed to have reserved all of their rights to

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propose or oppose any and all class certification issues.”

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ANITA B. BRODY, J.

Copies VIA ECF on to: Copies MAILED on to:

* It is further ORDERED that the NFL Parties have the right to communicate orally and in writing with, and to
respond to inquiries from, Settlement Class Members on matters unrelated to the Class Action Settlement in
connection with the NFL Parties’ normal business.
